Case 1:19-cv-00484-RBJ Document 84 Filed 10/15/20 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                JUDGE R. BROOKE JACKSON


Civil Action:         19-cv-00484-RBJ                      Date: October 15, 2020
Courtroom Deputy:     Julie Dynes                          Court Reporter: Sarah Mitchell

                Parties                                               Counsel

 TOM WAGNER                                                      Christopher Moody
 MATTHEW DEBROSSE                                                 Repps Stanford
 JOHN GLAZIER
 JAMES HOWE
 KEVIN MOFFIT
 LAURA WALKER
 SUSAN BRZEZINSKI
 DANIELLE NOWISKI
 GENE STALSBERG
 KRISTEN GRADO
 GEORGE RAMEY
 NIKOLAS REPETA
 STEPHANIE PAULEY
                Plaintiffs

 v.

 AIR METHODS CORPORATION                                          Lonnie Giamela
                                                                  LaLonnie Gray
                          Defendant


                                  COURTROOM MINUTES


TELEPHONE CLASS CERTIFICATION

Court in Session: 1:30 p.m.

Appearance of counsel – all participants appear via telephone.

Discussion held on pending motions

Argument given by Mr. Moody and Mr. Giamela with questions and comments from the Court.
Case 1:19-cv-00484-RBJ Document 84 Filed 10/15/20 USDC Colorado Page 2 of 2




Discussion held on summary judgment motions.

ORDERED: [51] Motion to Certify Class and [58] Motion to Dismiss are TAKEN UNDER
         ADVISMENT, written order to issue.

Court in Recess: 3:07 p.m.        Hearing concluded.   Total time in Court: 01:37
